                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
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Sterling D. Brown,
              Plaintiff,
v.                                              Civil Action No. 2:18-cv-922

City of Milwaukee, et al.
             Defendants.
______________________________________________________________________________

                   PLAINTIFF STERLING BROWN’S STATUS UPDATE


       NOW COMES THE PLAINTIFF, Sterling D. Brown, through undersigned counsel,

and submits this status update pursuant to this Court’s Order, dated February 24, 2021.

(Dkt. 81.)

       From the date of Mr. Brown’s previous status update, and with the continuing

assistance, advice and herculean effort of the mediator, retired Magistrate Judge David

E. Jones, who continued discussions with the City of Milwaukee (Dkt. 80.), on the evening

of March 23, 2021 Magistrate Judge David E. Jones proposed a new modified settlement

agreement to Mr. Brown on behalf of the City of Milwaukee. Once again, Mr. Brown

promptly responded and authorized his attorney to sign a new final settlement

agreement. Attorney Mark L. Thomsen signed the Settlement Agreement on March 25,

2021 and returned it to retired Magistrate Judge David E. Jones. For the second time now,

it is Mr. Brown’s understanding that the City of Milwaukee has confirmed its agreement

and commitment to the settlement of this matter (See Dkt. 76.), and is awaiting the details




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of the final timeline from retired Magistrate Judge David E. Jones and the City of

Milwaukee.

      Accordingly, Mr. Brown respectfully requests thirty (30) days to conclude this

matter. As before, Mr. Brown will keep the Court updated and will request a status

conference if needed.



Respectfully submitted, March 26, 2021.

                                                  GINGRAS, THOMSEN, & WACHS, LLP

                                                                 s/ Mark L. Thomsen
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